            Case 1:18-cv-00455-REB Document 17 Filed 03/15/19 Page 1 of 8



BART M. DAVIS, IDAHO STATE BAR NO. 2696
UNITED STATES ATTORNEY
CHRISTINE G. ENGLAND, CALIFORNIA STATE BAR NO. 261501
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF IDAHO
WASHINGTON GROUP PLAZA IV
800 EAST PARK BOULEVARD, SUITE 600
BOISE, ID 83712-7788
TELEPHONE: (208) 334-1211
FACSIMILE: (208) 334-1414
Email: Christine.England@usdoj.gov

Attorneys for Defendant United States of America



                              UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

 THOMAS E. WELSH,
                                                   Case No. 1:18-CV-00455-REB
                 Plaintiff,
                                                   ANSWER
           v.

 UNITED STATES OF AMERICA,

                 Defendant.


       COMES NOW Defendant, United States of America, by and through Christine G.

England, Assistant United States Attorney for the District of Idaho, and in answer to Plaintiff’s

Second Amended Complaint, ECF No. 15 (“the Complaint”). The numbered paragraphs of this

Answer correspond to the numbered paragraphs of the Complaint. Defendant does not waive

any defensive theory or agree to or admit that Plaintiff’s headings are accurate, appropriate, or

substantiated. All allegations of the Complaint that are not specifically admitted, denied or

qualified are hereby expressly denied. The United States hereby admits, denies and alleges as

follows:



ANSWER - 1
            Case 1:18-cv-00455-REB Document 17 Filed 03/15/19 Page 2 of 8



                          PARTIES, JURISDICTION, AND VENUE

       1.       Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 1, and so, on that basis and to the extent that a

response is deemed required, denies those allegations.

       2.       Paragraph 2 contains Plaintiff’s characterization of his complaint, to which no

response is required. To the extent that a response is deemed required, the allegations in

Paragraph 2 are denied.

       3.       Paragraph 3 states a legal conclusion to which a response is not required. To the

extent that a response is deemed required, the allegations in Paragraph 3 are denied.

       4.       Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 4, and so, on that basis and to the extent that a

response is deemed required, denies those allegations.

       5.       Paragraph 5 states a legal conclusion to which a response is not required. To the

extent that a response is deemed required, Defendant admits only that Plaintiff Welsh presented

his claim in writing the United States Department of Veterans Affairs and that the Department of

Veterans Affairs denied his claim on April 18, 2018. Defendant denies the remaining allegations

in Paragraph 5.

       6.       Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 6, and so, on that basis and to the extent that a

response is deemed required, denies those allegations.

                                  FACTUAL ALLEGATIONS

       7.       Defendant incorporates by reference its responses to Paragraphs 1-6.

       8.       Denied.




ANSWER - 2
            Case 1:18-cv-00455-REB Document 17 Filed 03/15/19 Page 3 of 8



       9.       Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 9, and so, on that basis and to the extent that a

response is deemed required, denies those allegations.

       10.      Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 10, and so, on that basis and to the extent that a

response is deemed required, denies those allegations.

       11.      Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 11, and so, on that basis and to the extent that a

response is deemed required, denies those allegations.

       12.      Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 12, and so, on that basis and to the extent that a

response is deemed required, denies those allegations.

       13.      Defendant admits the allegations contained in the first, second, third, fourth and

seventh sentences of Paragraph 13. Defendant denies the allegations contained in the fifth and

sixth sentences of Paragraph 13.

       14.      Admitted.

       15.      Denied.

       16.      Denied.

       17.      Defendant admits the allegations contained in the first, second, fourth and sixth

sentences of Paragraph 17. Defendant lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in the third sentence of Paragraph 17, and so, on that

basis and to the extent that a response is deemed required, denies those allegations. Defendant

denies the allegations contained in the fifth sentence of Paragraph 17.




ANSWER - 3
         Case 1:18-cv-00455-REB Document 17 Filed 03/15/19 Page 4 of 8



       18.     Denied.

       19.     Denied.

       20.     Admitted.

       21.     Admitted.

       22.     Defendant admits the allegations contained in the second, third, fourth, fifth,

seventh and eighth sentences of Paragraph 22. Defendant denies the allegations contained in the

first and sixth sentences of Paragraph 22.

       23.     Admitted.

       24.     Admitted.

       25.     Admitted.

       26.     Denied.

       27.     Denied.

       28.     Admitted.

       29.     Admitted.

       30.     Defendant admits the allegations contained in the first sentence of Paragraph 30.

Defendant denies the allegations contained in the second sentence of Paragraph 30.

       31.     Defendant admits the allegations contained in the first and fourth sentences of

Paragraph 31. Defendant denies the allegations contained in the second, third and fifth sentences

of Paragraph 31.

       32.     Defendant admits the allegations contained in the first sentence of Paragraph 32.

Defendant denies the allegations contained in the second sentence of Paragraph 32.

       33.     Denied.




ANSWER - 4
          Case 1:18-cv-00455-REB Document 17 Filed 03/15/19 Page 5 of 8



       34.     Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 34, and so, on that basis and to the extent that a

response is deemed required, denies those allegations.

       35.     Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 35, and so, on that basis and to the extent that a

response is deemed required, denies those allegations.

       36.     Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 36, and so, on that basis and to the extent that a

response is deemed required, denies those allegations.

       37.     Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 37, and so, on that basis and to the extent that a

response is deemed required, denies those allegations. Defendant admits only that Plaintiff was

at the Boise VA Medical Center from May 2 to May 21, 2016.

       38.     Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in Paragraph 38, and so, on that basis and to the extent that a

response is deemed required, denies those allegations.

                                             COUNT 1

       39.     Defendant incorporates by reference its response to the allegations contained in

Paragraphs 1-38.

       40.     Denied.

       41.     Denied.

       42.     Denied.

       43.     Denied.




ANSWER - 5
          Case 1:18-cv-00455-REB Document 17 Filed 03/15/19 Page 6 of 8



       44.     Denied.

                               DEMAND FOR ATTORNEY FEES

       45.     Defendant incorporates by reference its response to the allegations contained in

Paragraphs 1-44.

       46.     Denied.

                                     PRAYER FOR RELIEF

       Plaintiff’s prayer for relief does not require a response. Defendant denies that Plaintiff is

entitled to the relief they request or to any relief whatsoever.

                                     DEMAND FOR A JURY

       Defendant denies that any claim asserted by Plaintiff is triable by jury.



                               FIRST AFFIRMATIVE DEFENSE

       Defendant is not liable for any negligence of independent contractors or non-Federal

providers who may have treated Plaintiff. 28 U.S.C. § 2671.

                             SECOND AFFIRMATIVE DEFENSE

       The injuries and damages alleged in the Complaint were not proximately caused or

contributed to by any negligent or wrongful act or omission of any agent, employee, or

representative of Defendant.

                               THIRD AFFIRMATIVE DEFENSE

       Any liability attributed to Defendant, if any, is limited to its proportionate share, if any,

of the fault. To the extent the damages claimed by the Plaintiff are the fault of the Plaintiff or

third persons not within the control of Defendant, Plaintiff’s recovery must be reduced.




ANSWER - 6
         Case 1:18-cv-00455-REB Document 17 Filed 03/15/19 Page 7 of 8



                            FOURTH AFFIRMATIVE DEFENSE

       The United States has, or may have, additional affirmative defenses which are not yet

known to Defendant, but which may become known through future discovery. Defendant asserts

each and every affirmative defense that may be supported by the evidence as it is revealed or

developed through future discovery.

       WHEREFORE, having answered each and every allegation contained in Plaintiff’s

Complaint, Defendant United States denies that Plaintiff is entitled to any recovery, prays that

this Court deny Plaintiff’s Complaint, dismiss this action, enter judgment in favor of Defendant,

award Defendant its costs, and for such other relief as the Court deems just and proper.

       Respectfully submitted this 15th day of March, 2019.

                                                  BART M. DAVIS
                                                  UNITED STATES ATTORNEY
                                                  By:


                                                 /s/ Christine G. England
                                                  CHRISTINE G. ENGLAND
                                                  Assistant United States Attorney




ANSWER - 7
         Case 1:18-cv-00455-REB Document 17 Filed 03/15/19 Page 8 of 8



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 15, 2019, the foregoing ANSWER was

electronically filed with the Clerk of the Court using the CM/ECF system which sent a Notice of

Electronic Filing to the following person(s):


Randall Schmitz
Randy@skauglaw.com


                                                        /s/ Danielle Haws
                                                         Paralegal




ANSWER - 8
